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                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                                    ORLANDO DIVISION


UNITED STATES OF AMERICA

v.                                                                                          Case No. 6:07-cr-107-Orl-28UAM

IDA ACEVEDO

 JUDGE:                           John Antoon II                    COUNSEL FOR GOVT:                 Bruce S. Ambrose

 DEPUTY CLERK:                    Darleen Darley                    COUNSEL FOR DEFT(S):              Luis Davila

 COURT REPORTER:                  Sandy Tremel                      PRETRIAL/PROBATION:               Dianne Santana

 DATE/TIME:                       January 18, 2008                  INTERPRETER:                      None
                                  10:30-11:15 a.m.


                                 CLERK’S MINUTES ON CRIMINAL SENTENCING

Defendant is adjudged guilty on Count One of the Indictment.
Motion for downward departure and or in mitigation of sentence based upon family circumstances (Doc. No. 733)       Granted.
IMPRISONMENT:         17 Months. Defendant is to wait for designation by the U.S. Marshal to be transported to the Mint Program.
Court Recommends:      The Court recommends placement in the Mothers and Infants Nurturing Together (MINT) program and that
Defendant obtain her GED while in the Program.
Supervised Release:   3 Years.
MANDATORY DRUG TESTING requirements are: Imposed.
Special Conditions of Supervised Release are:
                 Participate in a program for treatment of narcotic addiction or drug or alcohol dependency.
                 Community Service Program:       Perform 50 hours in lieu of paying a fine.
                 Cooperate in the collection of DNA as directed by the Probation Officer.
Fine and costs of imprisonment/supervision:     Waived.
Special Assessment:    $100.00.
Additional remarks:   Defendant is advised of right to appeal.
